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10
     Charles Langley
11
                        IN THE UNITED STATES DISTRICT COURT
12                          FOR THE DISTRICT OF ARIZONA
13
14   Laney Sweet, an individual, et al.,   NO. CV-17-00152-PHX-GMS
15                           Plaintiff,
16                                         DEFENDANT LANGLEY’S
     v.                                    SUPPLEMENTAL MOTION FOR
17                                         SUMMARY JUDGMENT AND
18   City of Mesa, et al.,                 JOINDER IN APPLICABLE
                                           ARGUMENTS PRESENTED BY CO-
19                           Defendants.   DEFENDANTS
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 1          Pursuant to the Court’s April 6, 2021 Order (Doc. 513), Defendant Charles Langley
 2   (“Langley”) respectfully submits this supplemental Motion for Summary Judgment in
 3   connection with the Sweet Plaintiffs’ (“Plaintiffs”) claims against him. 1
 4   I.     LANGLEY IS ENTITLED TO QUALIFIED IMMUNITY ON PLAINTIFFS’
            § 1983 CLAIMS (COUNT III). 2
 5
            A.     The undisputed facts demonstrate that Langley was not an
 6                 integral participant in Shaver’s shooting.
 7          The Ninth Circuit denied Langley’s qualified immunity defense at the pleading
 8   stage because the Plaintiffs alleged that he “effectively authorized his subordinates to use
 9   excessive force against Shaver.” Sweet v. Langley, 798 F. App’x 135, 136 (9th Cir. 2020).
10   It is clear, however, that Plaintiffs’ dispositive allegation has no basis in fact.
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       Although Langley invoked his Fifth Amendment privilege against self-incrimination at
12
     various points during his continued deposition, the invocation of that privilege alone is
13   insufficient for Plaintiffs to avoid summary judgment. See Avirgan v. Hull, 932 F.2d 1572,
     1580 (11th Cir. 1991) (“Invocation of the fifth amendment privilege did not give rise to
14   any legally cognizable inferences sufficient to preclude entry of summary judgment. The
15   negative inference, if any, to be drawn from the assertion of the fifth amendment does not
     substitute for evidence needed to meet the burden of production.”); Rivera v. Guevara, 319
16   F. Supp. 3d 1004, 1039–40 (N.D. Ill. 2018) (“[T]o create a fact issue for trial, a party
     resisting summary judgment cannot rely exclusively on the moving party’s invocation of
17
     the Fifth Amendment privilege.”). This is especially the case given Langley’s 2-days of
18   testimony at Brailsford’s criminal trial (amounting to ~154 transcript pages), his 2-days of
     testimony at Brailsford’s preliminary hearing (amounting to ~73 transcript pages), and the
19   two Axon video recordings of the incident, which are not otherwise contradicted or
20   disputed. See Doe ex rel. Rudy-Glanzer v. Glanzer, 232 F.3d 1258, 1265 (9th Cir. 2000)
     (“[N]o negative inference can be drawn against a civil litigant’s assertion of his privilege
21   against self-incrimination unless there is a substantial need for the information and there is
     not another less burdensome way of obtaining that information.”). Moreover, Langley
22
     testified at his deposition that his testimony at the preliminary hearing and criminal trial
23   was accurate, complete, and truthful. See Ex. 1 (Excerpts Langley Depo. at 100:12–101:4).
     2
       Langley has already responded to Plaintiffs’ assertion that he somehow waived his right
24   to seek summary judgment as to their federal law claims while his interlocutory appeal was
25   pending in his July 2019 Reply Brief (Doc. 314 at Section IV). Thus, if Plaintiffs’ brief
     reasserts this position, Langley incorporates by reference his previous arguments on this
26   point. Even if this brief were considered a successive motion—it is not, the Ninth Circuit
     has long recognized the permissibility of successive motions for summary judgment both
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     in and “outside the context of qualified immunity.” Hoffman v. Tonnemacher, 593 F.3d
28   908, 910 (9th Cir. 2010) (citing Knox v. Sw. Airlines, 124 F.3d 1103, 1106 (9th Cir. 1997)).

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 1          Defendant Brailsford testified that he did not interpret any of Langley’s deadly-force
 2   warnings as an order to shoot Shaver:
 3          Q. When he, meaning Sergeant Langley, was yelling at Mr. Shaver and
            saying, If you do that again, we’re going to shoot you, did you take that as -
 4          - as an order, did he give you the green light to shoot, or how did you take
 5          that?

 6          A. No. Certainly not, ma’am. That was simply a warning to Mr. Shaver, don’t
            do that again because that’s what police officers, you know, in certain
 7          situations we can determine that to be a threat.
 8
            Q. And so you made the decision on your own, not because of anything
 9          Sergeant Langley said to go ahead and fire, correct?
10          A. I made my decision based on my decision.
11   Doc. 266 (“GSOF”) at ¶¶ 97–98. All of the officers under Langley’s command have
12   testified that they understood that Langley could not have authorized them use deadly
13   force. Id. at ¶ 95. In fact, Officer Doane switched from his firearm to his taser when Shaver
14   exited and did not switch back to his handgun in response to Langley’s commands. Id. at
15   ¶¶ 140–42. As such, it is undisputed that Langley did not authorize Brailsford or any of
16   other subordinate to use excessive force against Shaver. Id. at ¶ 96; see also Sweet Pls.’
17   Resp. to Langley’s RFA No. 4 (admitting that the decision to shoot Shaver “reflected a
18   conscious decision by Defendant Brailsford”) (attached as Ex. 2 at 3).
19          Moreover, since the Ninth Circuit’s memorandum disposition on Langley’s
20   interlocutory appeal, the Ninth Circuit issued a published decision that further defined the
21   contours of the Circuit’s integral-participant doctrine. In Reynaga Hernandez v. Skinner,
22   969 F.3d 930 (9th Cir. 2020), the Court made clear that Langley cannot be held liable for
23   another officer’s unconstitutional conduct unless there’s a showing that Langley’s conduct
24   was the but-for cause. Id. at 942. Here, Plaintiff cannot establish that Langley’s conduct
25   was the but-for cause of the shooting given Brailsford’s admission that he made an
26   independent decision to shoot. See GOSF at ¶ 98; see Evans v. Chalmers, 703 F.3d 636,
27   647 (4th Cir. 2012) (holding that “subsequent acts of independent decision-makers . . . may
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                                                  2
 1   constitute intervening superseding causes that break the causal chain between a defendant-
 2   officer’s misconduct and a plaintiff’s unlawful seizure.”).
 3          B.     None of the alleged unconstitutional conduct was clearly
                   established at the time of the shooting.
 4
            Plaintiffs have alleged a wide variety of theories of unconstitutional conduct under
 5
     the Fourth and Fourteenth Amendments—none of which was clearly established at the time
 6
     of the incident. Plaintiffs’ theories require the Court to ignore the material undisputed facts:
 7
     • Langley was responding to a report of a man pointing a military-type rifle out a window
 8     from an elevated position, GSOF ¶¶ 7, 10, 12, 29;
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     • Langley and his fellow officers confirmed the details of the report with La Quinta staff
14     members who had seen Shaver’s gun, observed his demeanor, and spoken to the
15     frightened guests that reported the gun pointing, id. at ¶¶ 10–13, 43–45;

16   • Shaver failed to comply with clear orders to keep his hands visible and away from the
       small of his back, id. at ¶¶ 90–93;
17
     • At the time of the incident Shaver was violating the terms of his probation for the second
18     time and likely knew that the interaction with the police was going to result in the loss
       of his job, the suspension of his driver’s license, jail-time, and upsetting his relationship
19     with Plaintiffs, Ex. 3 (Excerpts from Parker County, TX Court Documents re Texas v
20     Shaver) 3; Ex. 4 (Excerpts from L. Sweet Depo. at 311:4–312:11).
     • During their encounter with Shaver in the hallway, Langley and his fellow officers were
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       under the impression that a third armed man remained in the room, GSOF at ¶¶ 63, 164.
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       The terms of Shaver’s community supervision provided that Shaver “will consumer NO
     alcohol as a condition of probation” and “[r]emain within the limits of Parker County,
26   Texas and the immediately adjoining Texas Counties . . . ,” Ex. 3 at 2–4. Shaver’s probation
     was subsequently extended “for 12 months until Feb 26, 2016,” id. at 13, for violating his
27
     probation terms in June of 2014 by, inter alia, possessing “a usable quantity of cocaine”
28   and “traveling to Mexico without first obtaining written permission” id. at 7.

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 1   Thus, it was not clearly established at the time of the incident that Langley was required to
 2   use alternative methods to take Shaver into custody. Cf. Kisela v. Hughes, 138 S. Ct. 1148,
 3   1156 (2018) (reversing Ninth Circuit and holding that Tucson police officer was entitle to
 4   qualified immunity where he fired four times “[w]ithout giving any advance warning that
 5   he would shoot, and without attempting less dangerous methods to deescalate the
 6   situation”) (Sotomayor, J. dissenting); Roell v. Hamilton Cty., Ohio/Hamilton Cty. Bd. of
 7   Cty. Commissioners, 870 F.3d 471, 486–87 (6th Cir. 2017) (“no precedent establishes that
 8   the level of force used by the deputies in this case was excessive or that the deputies were
 9   required to use only verbal de-escalation techniques.”).
10          C.     Langley did not violate Shaver’s constitutional rights.
11          At bottom, all of Plaintiffs’ Section 1983 claims against Langley turn on the

12   mistaken assumption that Brailsford violated Shaver’s constitutional rights when he shot

13   him. But not every use of deadly force violates the Fourth Amendment, and the undisputed

14   facts establish that Brailsford had the requisite probable cause to believe that Shaver posed

15   a threat of serious harm to him and his fellow officers at the time use of force was deployed.

16                 1.     The shooting of Shaver was objectively reasonable.
            It is objectively reasonable for a police officer to deploy deadly force when a
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     suspect, which the officer believes is armed, reaches for his waist. Salazar-Limon v. City
18
     of Houston, 137 S. Ct. 1277 (2017) (Alito, J., concurring in denial of certiorari) (noting
19
     that “summary judgment would be proper if the record compelled the conclusion that
20
     Salazar–Limon reached for his waist”). 4 For example, in Cruz v. City of Anaheim, officers
21
     were informed that Cruz was a gang member who sold drugs and carried a gun. 765 F.3d
22
23
     4
            The Supreme Court declined to review Salazar-Limon v. City of Houston, which
24   found no constitutional violation where an officer shot a suspect reaching for his waistband.
25   826 F.3d 272, 279 (5th Cir. 2016) (“[C]onsidering the totality of the circumstances—which
     include Salazar’s resistance, intoxication, his disregard for Officer Thompson’s orders, the
26   threat he and the other three men in his truck posed while unrestrained, and Salazar’s
     actions leading up to the shooting (including suddenly reaching towards his waistband)—
27
     it seems clear that it was not unreasonable for an officer in Officer Thompson’s position to
28   perceive Salazar’s actions to be an immediate threat to his safety.”).

                                                   4
 1   1076 (9th Cir. 2014). The officers pulled Cruz over at a traffic stop and Cruz got out of the
 2   car and ignored the officers’ demands to get on the ground. Id. at 1078. The officers fired
 3   at him when he reached for his waistband. Id. Afterwards, it was discovered Cruz did not
 4   have a weapon on his person. Id. The Ninth Circuit held:
 5          It would be unquestionably reasonable for police to shoot a suspect in Cruz’s
            position if he reaches for a gun in his waistband, or even if he reaches there
 6          for some other reason. Given Cruz’s dangerous and erratic behavior up to
 7          that point, the police would doubtless be justified in responding to such a
            threatening gesture by opening fire.
 8
     Id. (emphasis added); see also Wilkinson v. Torres, 610 F.3d 546, 553 (9th Cir. 2010)
 9
     (holding “‘the Fourth Amendment does not require omniscience,’ and absolute certainty of
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     harm need not precede an act of self-protection”) (citation omitted).
11
            Here, Brailsford shot Shaver when Shaver reached for his waistband. See GSOF
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     ¶ 91–93. Given that the officers were responding to a 911 emergency call regarding an
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     individual pointing a gun out of a hotel window and that Shaver had been repeatedly
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     admonished not to put his hands behind his back, it was objectively reasonable for
15
     Brailsford to assume that Shaver was reaching for a gun when he reached for his waistband.
16
     As in Cruz, Brailsford’s decision to shoot did not violate Shaver’s Fourth Amendment
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     rights because, under the circumstances, reaching for his waistband was a “threatening
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     gesture,” 765 F.3d at 1078 (noting it would be unreasonable to shoot “if the suspect doesn’t
19
     reach for his waistband or make some similar threatening gesture”); see also Batyukova v.
20
     Doege, 994 F.3d 717, 729 (5th Cir. 2021) (shooting officer entitled to qualified immunity
21
     where suspect “repeatedly ignored his commands, walked towards him, was actually facing
22
     him, and then made a movement towards her waistband”); Lamont v. New Jersey, 637 F.3d
23
     177, 183 (3d Cir. 2011) (“[T]roopers were justified in opening fire” where the suspect
24
     “suddenly pulled his right hand out of his waistband” despite the fact that he was later
25
     discovered that “the suspect was not clutching a weapon; he was holding a crack pipe”). 5
26
27   5
           See also Corrales v. Impastato, 650 F. App’x 540 (9th Cir. 2016) (officer’s use of
28   deadly force against a suspect who (incorrectly) believed was pulling a gun from his

                                                  5
 1                 2.     This Court must ignore Plaintiffs’ hindsight allegations.
 2          The Supreme Court has made clear that when evaluating the “defense of qualified

 3   immunity [courts may only consider] the facts that were knowable to the defendant

 4   officers.” White v. Pauly, 137 S. Ct. 548, 550 (2017). Here, Plaintiffs’ claims turn on facts

 5   that were unknown to the officers before Brailsford deployed force. For example, Langley

 6   and his fellow officers could not have known that Shaver was unarmed and reasonably

 7   assumed that he was armed. See GSOF ¶¶ 87–89, 144, 202. The fact that the officers

 8   subsequently learned that Shaver did not have a gun on him, but that he had left his weapons

 9   in his room, is not relevant to the qualified immunity analysis. See Cruz, 765 F.3d at 1078;

10   see also Plumhoff v. Rickard, 572 U.S. 765, 775 (2014) (instructing courts to view the facts

11   “from the perspective of a reasonable officer on the scene, rather than with the 20/20 vision

12   of hindsight.”); Mendez, 137 S. Ct. at 1546–47 (2017) (emphasizing that a use of force

13   must be “evaluated for objective reasonableness based upon the information the officers

14   had when the conduct occurred” and rejecting a “look back in time to see if there was a

15   different Fourth Amendment violation that is somehow tied to the eventual use of force.”).

16   Without the benefit of their hindsight allegations, Plaintiffs cannot establish that

17   Brailsford’s deployment of force was objectively unreasonable.

18   II.    PLAINTIFFS CANNOT TO ESTABLISH ENTITLEMENT TO PUNITIVE
            DAMAGES AGAINST LANGLEY. 6
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            A § 1983 punitive damages claim is subject to summary adjudication when the
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     plaintiff “fails to produce evidence raising a material question of fact regarding aggravating
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     circumstances or the reckless or callous nature of defendant's actions.” Kyle v. Patterson,
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     196 F.3d 695, 698 (7th Cir. 1999). Langley testified that his intent throughout the incident
23
     was to safely take Shaver into custody and ensure the safety of the public. See Ex. 5
24
     (Excerpts Langley Trial Testimony at 75:20–24, 89:6–14). Thus, even if Plaintiffs can
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     waistband was objectively reasonable).
27   6
       The Court previously dismissed Plaintiffs’ claims for punitive damages arising out of
28   their state law claims. See Doc. 137 at 4, 14–15.

                                                   6
 1   establish—at the summary judgment stage—that Langley acted with deliberate
 2   indifference to Shaver’s rights, they cannot establish that his conduct was motivated by
 3   evil motive or intent, or involved reckless or callous indifference to Shaver’s federally
 4   protected rights. Cf. Schroeder v. SDUSD, 2009 WL 1357414, at *14 (S.D. Cal. May 13,
 5   2009) (granting summary judgment on punitive damages even though there were genuine
 6   issues of material fact precluding summary adjudication on Plaintiff’s § 1983 claims)
 7   (“Plaintiff conflates the showing required to establish her claim under 42 U.S.C. § 1983
 8   with the standard for punitive damages”); see also White v. Polk Cty., 207 F. App’x 977,
 9   979 n.6 (11th Cir. 2006) (“We are not persuade . . . by Plaintiffs’ assertion that, because
10   Officer Lawson invoked his Fifth Amendment privilege and did not answer a deposition
11   question about whether he intended to harm White and Jacoby, we should infer that Officer
12   Lawson did intend such harm.”) (citing Avirgan, 932 F.2d 1572, 1580 (11th Cir. 1991)).
13   III.   PLAINTIFFS CONCEDE THAT THEY FAILED TO COMPLY WITH
            ARIZONA’S NOTICE OF CLAIM REQUIREMENTS.
14
            On August 27, 2020, following all previous summary judgment briefing, Plaintiffs
15
     produced 190 pages of Facebook Posts from Ms. Sweet’s Facebook account. See Doc. 488
16
     (notice of service of Sweet Plaintiffs’ Sixteenth Supplemental Disclosure Statement).
17
     Among these documents was a July 2016 Facebook post, where Ms. Sweet acknowledged
18
     deficiencies in her Notice of Claim. See Ex. 6 (PL SWEET009017) (“Have you filed the
19
     Notice of Claim? . . . There’s a deadline for it. Is Marc doing it? We are having to re-do
20
     ours because he screwed mine up. if he doesn’t do it correctly they can completely dismiss
21
     the civil case.”). The record establishes that Ms. Sweet was correct—she and her children
22
     failed to provide sufficient notice of her state law claims to Langley.
23
            A notice of claim may be filed in three ways: (1) personal delivery to the employee;
24
     (2) delivery to a person of suitable age and discretion who resides with the employee; or
25
     (3) delivery to a person who is the employee’s appointed agent. Simon v. Maricopa Med.
26
     Ctr., 234 P.3d 623, 629 (App. 2010) (citing A.R.S. § 12-821.01(A); Ariz. R. Civ. P. 4.1(d)).
27
     If the notice of claim is not filed within the one hundred eighty days, the claim is “barred
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                                                   7
 1   and no action may be maintained thereon.” Id. Arizona courts have held that the notice of
 2   claim statute is to be interpreted strictly. Further, in cases where both the public entity and
 3   public employees are sued, plaintiffs must give notice to both the entity and the employees.
 4   Crum v. Superior Court in & for County of Maricopa, 922 P.2d 316, 317 (App. 1996).
 5          Here, Langley’s April 26, 2019 Answer—filed concurrently with his summary
 6   judgment motion—denied Plaintiffs’ allegation that she timely served a notice of claim:
 7             COMPLIANCE WITH NOTICE OF CLAIM REQUIREMENTS
 8          19. In answering Paragraph 19 of the Sweet Plaintiffs’ Amended Complaint,
            Defendant asserts that many of the sentences call for legal conclusions or do
 9
            not require an answer from this Defendant. To the extent a response is
10          required, Defendant denies the same.
11   Doc. 269 at ¶ 19. Since Plaintiffs were put on notice of his Notice of Claim defense,
12   Plaintiffs have failed to provide any evidence demonstrating compliance with A.R.S. § 12-
13   821.01(A) as it pertains to their state-law claims against Langley. Rather, the undisputed
14   evidence makes clear that Plaintiffs did not provide Langley with timely notice. Plaintiffs
15   apparently sent a Notice of Claim on February 8, 2016 to the Mesa Police Department and
16   the City Clerk for the City of Mesa. Plaintiffs also apparently sent an amended notice of
17   claim on July 13, 2016 (“Amended Notice”). The Amended Notice was addressed to a
18   number of entities and individuals, including Langley, but the Plaintiffs’ process server’s
19   order form indicates that it was only delivered to the City Clerk’s Office. When Plaintiffs’
20   Amended Notice was purportedly served on the City of Mesa, Langley had already retired.
21   GSOF at ¶ 218. Regardless, Langley never authorized his former employer to accept
22   service on his behalf. See Doc. 386-1 Ex. A (“I did not authorize the City of Mesa or the
23   Mesa Police Department to accept service of any notice of claim issued by any of the
24   Plaintiffs in the above captioned litigation.”).
25          In sum, service on the City of Mesa and the Mesa Police Department was
26   insufficient to bring a claim against Langley. See Simon v. Maricopa Med. Ctr., 225 Ariz.
27   55, 61 (App. 2010) (holding that service of notice of claims must comply with Rule 4.1(d)
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                                                    8
 1   of the Arizona Rules of Civil Procedure); see also Iknadosian v. Mahon, No. 1 CA-CV 13-
 2   0205, 2014 WL 2548975, at *3 (Ariz. Ct. App. June 5, 2014) (“Thus, delivery to a
 3   receptionist at a defendant’s place of employment is insufficient service.”). To perfect their
 4   state law claims against Langley, Plaintiffs needed to serve their notice of claim on Langley
 5   directly, not his former employer. Id. (dismissing claims against individual officers where
 6   Plaintiff “filed his notice of claim with the clerk of the City of Phoenix and the Clerk of
 7   the Maricopa County Special Healthcare District, but not with any of the Officers.”). 7
 8          Because Plaintiffs did not comply with A.R.S. § 12–821.01(A), this Court must
 9   enter judgment in favor of Langley on Plaintiff’s remaining state-law claims—Count I
10   (Wrongful Death) and Count VI (Intentional Infliction of Emotional Distress (“IIED”)).
11   IV.    PLAINTIFFS CANNOT IDENTIFY SUFFICIENT EVIDENCE TO
            SUPPORT THEIR INTENTIONAL INFLICTION OF EMOTIONAL
12          DISTRESS CLAIM.
13          Langley’s February 7, 2020 Supplemental Brief (Doc. 386) thoroughly outlines the
14   five reasons that he is entitled to summary judgment on Plaintiffs’ IIED claim:
15          • Plaintiffs cannot establish their IIED claims as a matter of law because they were
16            not present at the time of Langley’s alleged extreme or outrageous conduct nor
              was any of Langley’s conduct directed at them.
17
            • Plaintiffs N.S. and E.S. could not have been injured by Langley’s post-incident
18            report.

19          • Ms. Sweet has not and cannot establish that her emotional distress was caused
              by Langley’s post-incident report.
20
            • The record evidence does not support Plaintiffs’ “cover-up” conspiracy.
21          • Langley did not intentionally omit any material from his report.
22   Pursuant to LRCiv 7.1(d)(2), Langley incorporates the arguments previously presented in
23   Doc. 386 by reference herein.
24
25
     7
       Arizona cases emphasize that “[a]ctual notice and substantial compliance do not excuse
     failure to comply with the statutory requirements of A.R.S. § 12–821.01(A).” Falcon ex
26   rel. Sandoval v. Maricopa Cnty., 213 Ariz. 525, 527 (2006); see also Nored, 614 F. Supp.
     2d at 996–97 (D. Ariz. 2008) (“[D]octrines of substantial compliance and actual notice of
27
     a claim may not be applied to allow a suit to proceed when a plaintiff has not strictly
28   complied with the substantive terms of the statute.”).

                                                   9
 1   V.    LANGLEY INCORPORATES BY REFERENCE CO-DEFENDANTS
           ARGUMENTS IN SUPPORT OF SUMMARY ADJUDICATION OF
 2         PLAINTIFFS’ STATE LAW CLAIMS.
 3         Pursuant to LRCiv 7.1(d)(2), Langley also joins in and incorporates by reference
 4   the arguments that apply to Langley advanced in co-defendants’ supplemental motion for
 5   summary judgment briefs. Specifically, Langley joins in (1) Sections I, III, and V of the
 6   City of Mesa Defendants’ Supplement [Doc. 604], and (2) Sections I(B) and I(C) of
 7   Defendant Gomez’s Supplement [Doc. 606].
 8   VI.   CONCLUSION
 9         The Court must grant summary judgment on Plaintiffs’ federal and state law claims
10   against Langley.
11
12   Respectfully Submitted this 31st day of August 2021.
13
                                                     SCHARFF PLLC
14
                                              By:    /s/ Spencer G. Scharff
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